     Case:18-10655-SDB Doc#:35 Filed:07/30/18 Entered:07/30/18 09:16:12                                       Page:1 of 1
                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In re:                                                                                Case No.: 18−10655−SDB
Belinda M. Alexander
       Debtor                                                                         Judge: Susan D. Barrett
                                                                                      Chapter: 13

                 NOTICE OF HEARING ON MOTION FOR RELIEF FROM STAY
1) Notice is hereby given that a hearing to consider the Motion for Relief from Stay filed July 23, 2018, by Titlemax of
   Georgia, Inc. will be held on:

                                                 September 10, 2018 , at 02:00 PM
                      Federal Justice Center, Plaza Bldg, 600 James Brown Blvd (9th St), Augusta, GA 30901


2) Within seven (7) days after the date of this notice, the movant/movant's attorney is directed to serve a copy of the
   motion, together with a copy of this notice, on the trustee, debtor, debtor's attorney, U.S. Trustee (except in
   Chapter 13 cases) and on those persons specified by the Bankruptcy Rules. A certificate of service shall be filed
   with the Court immediately thereafter.


                                                                                  Lucinda Rauback, CLERK
                                                                                  United States Bankruptcy Court
                                                                                  Federal Justice Center
                                                                                  600 James Brown Blvd
                                                                                  P.O. Box 1487
                                                                                  Augusta, GA 30903
Dated July 30, 2018

                                                           ORDER
     Pursuant to 11 U.S.C. Section 362(e), the automatic stay under 11 U.S.C. §362 is hereby continued and shall remain in full
force and effect pending the final ruling on the motion, unless movant files an objection to any such extension prior to service of
the motion.




                                                                  Susan D. Barrett
                                                                  United States Bankruptcy Judge
                                                                  Federal Justice Center
                                                                  600 James Brown Blvd
                                                                  P.O. Box 1487
                                                                  Augusta, GA 30903

Dated July 30, 2018

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